3/29/2021            Case
                   Hull      1:21-cr-00175-TJK
                        McGuire,                          Document
                                 PC Mail - RE: Joseph Randall              47-1withFiled
                                                              Biggs; Compliance    Pretrial 04/01/21       Page
                                                                                            Release Conditions     1 of 2(DDC No. 21-MJ-126)
                                                                                                               01.20.2021



                                                                                            J. Daniel Hull <jdhull@hullmcguire.com>



  RE: Joseph Randall Biggs; Compliance with Pretrial Release Conditions 01.20.2021
  (DDC No. 21-MJ-126)
  Charles Sweatt <Charles_Sweatt@flmpt.uscourts.gov>                                                       Mon, Mar 22, 2021 at 1:56 PM
  To: John Daniel Hull <jdhull@hullmcguire.com>


    Good afternoon Mr. Hull,



    Mr. Biggs has presented no concerns regarding compliance since his release from custody in our district. He has
    maintained compliance regarding his conditions of release and location monitoring and maintained regular
    communication with me.




    From: John Daniel Hull <jdhull@hullmcguire.com>
    Sent: Monday, March 22, 2021 1:44 PM
    To: Charles Sweatt <Charles_Sweatt@flmpt.uscourts.gov>
    Cc: Danielle Jackson <djackson@hullmcguire.com>
    Subject: Joseph Randall Biggs; Compliance with Pretrial Release Conditions 01.20.2021 (DDC No. 21-MJ-126)




    CAUTION - EXTERNAL:




    Mr. Charles Sweatt

    U.S. Pretrial Services Office - Florida Middle District

    101 W. Central Blvd.

    Orlando, Florida 32801



    Dear Mr. Sweatt:



    I know you just returned from your vacation so thanks especially for your time today to explain the procedure in the
    Middle District’s Orlando Division for my inquiry.



    You’ve been our client Joseph Biggs’ probation officer and main point of contact at Pretrial Services since his home
    detention release in Orlando on January 20, 2021.



    What’s your view of the extent of his compliance with any and all Conditions of Release over the past two months?

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3/29/2021            Case
                   Hull      1:21-cr-00175-TJK
                        McGuire,                          Document
                                 PC Mail - RE: Joseph Randall              47-1withFiled
                                                              Biggs; Compliance    Pretrial 04/01/21       Page
                                                                                            Release Conditions     2 of 2(DDC No. 21-MJ-126)
                                                                                                               01.20.2021



    Thank you.



    Dan Hull




    John Daniel Hull
    Hull McGuire PC

    Washington, D.C. 20036

    001.202.429.6520 office

    001.619.895.8336 cell




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